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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         Case No. 1:21-CV-22733-COOKE/DAMIAN

  ENABLE CREATIVE, LLC d/b/a WE FLY
  AERIAL MEDIA,

  Plaintiff,

  vs.

  JOIA BEACH LLC D/B/A JOIA
  BEACH RESTAURANT & BEACH CLUB
  And LIQUID HOSPITALITY LLC,

  Defendant.
  ________________________________________/
   ADMINISTRATIVE ORDER CLOSING CASE UPON NOTICE OF SETTLEMENT
          THIS MATTER is before the Court on the Parties' Joint Notice of Settlement (ECF
  No. 33). In this Notice, the Parties informed the Court that they have settled this matter. As
  a consequence, this matter will be administratively closed pending the Parties filing a
  stipulation of final dismissal under Federal Rule of Civil Procedure 41(a)(1)(A)(ii) or moving
  for dismissal pursuant to Rule 41(a)(2). A stipulation of final dismissal or a motion for
  dismissal must be filed within 30 days of this Order. In the event a stipulation of final dismissal
  is filed under Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and the Parties want the Court
  to retain jurisdiction to enforce the terms of the settlement agreement, they must condition
  the stipulation upon this Court entering an order retaining jurisdiction. See Anago Franchising,
  Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012). The Clerk of Courts is directed to
  ADMINISTRATIVELY CLOSE this case. All pending motions are DENIED as moot.
          DONE and ORDERED in Chambers at Miami, Florida, this 31st day of March 2022.




  Copies furnished to:
  Melissa Damian, U.S. Magistrate Judge
  Counsel of record
